  Case 6:21-cv-00092-PJW-DWM-BMM Document 58 Filed 08/19/22 Page 1 of 3



Constance Van Kley
Rylee Sommers-Flanagan
 Upper Seven Law
 P.O. Box 31
 Helena, MT 59624
 (406) 306-0330
 constance@uppersevenlaw.com
 rylee@uppersevenlaw.com

Joel G. Krautter
 Netzer Law Office P.C.
 1060 S. Central Ave. Ste. 2
 Sidney, MT 59270
 (406) 433-5511
 joelkrautternlo@midrivers.com

Attorneys for Plaintiffs


  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                   HELENA DIVISION

 BOB BROWN; HAILEY SINOFF;
 and DONALD SEIFERT,
                                         Cause No.
                           Plaintiffs,   6:21-cv-92-PJW-DWM-BMM

             vs.
                                         Plaintiffs’ Notice of Cross
 CHRISTI JACOBSEN, in her                Appeal
 official capacity as Montana
 Secretary of State,

                      Defendant.
  Case 6:21-cv-00092-PJW-DWM-BMM Document 58 Filed 08/19/22 Page 2 of 3



      Pursuant to Federal Rules of Appellate Procedure 3 and 4 and

28 U.S.C. § 1291, notice is hereby given to the United States Court of

Appeals for the Ninth Circuit that Plaintiffs Bob Brown, Hailey Sinoff,

and Donald Seifert appeal from the Court’s July 6, 2022 Order (Doc. 55)

awarding attorneys’ fees to Plaintiffs with respect solely to the denial of

expert fees. The complaint in the above-captioned case was initially filed

on December 6th, 2021. Appeal fees have been submitted concurrently

with this filing.

      Defendant’s Notice of Appeal for the same Order (Doc. 56) was filed

on August 5th, 2022, and has been assigned Docket Number 22-35634.

      Plaintiffs’ Statement of Representation is attached to this notice as

Attachment A.

      Respectfully submitted this 19th day of August, 2022.


                                        /s/Constance Van Kley
                                        Constance Van Kley
                                        Rylee Sommers-Flanagan
                                        Upper Seven Law


                                        /s/ Joel G. Krautter
                                        Joel G. Krautter
                                        Netzer Law Office P.C.




Plaintiffs’ Notice of Cross Appeal                                        2
  Case 6:21-cv-00092-PJW-DWM-BMM Document 58 Filed 08/19/22 Page 3 of 3



                     CERTIFICATE OF SERVICE

     I hereby certify that this document was filed in CM/ECF on

August 19th, 2022, and served upon all registered users.

                                       /s/ Constance Van Kley
                                       Attorney for Plaintiffs




Plaintiffs’ Notice of Cross Appeal                                        3
